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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                4:16CR3083-1
                                           )
             v.                            )
                                           )
NANCY A. GENOVESI,                         )                   ORDER
                                           )
                   Defendant.              )
                                           )


       IT IS ORDERED that the plaintiff’s motion to dismiss indictment (filing no. 6)
is granted.

      DATED this 7th day of July, 2016.

                                          BY THE COURT:

                                          s/ Richard G. Kopf
                                          Senior United States District Judge
